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                                        United States District Court
                                         DISTRICT OF MONTANA BILLINGS DIVISION


 UNITED STATES OF AMERICA                                                            JUDGMENT IN A CRIMINAL CASE


 V.

                                                                                     Case Numbers: CR 18-85-BLG-DLC-l
                                                                                                             CR 18-149-BLG-DLC-l
 LARRY WAYNE PRICE, JR.                                                              USM Number: 22188-084
                                                                                     Ryan J. Gustafson
                                                                                     Defendant’s Attorney



THE DEFENDANT:
                                                                 Counts I, II, III, & IV in Cause No. CR-18-85-BLG-DLC;
       pleaded guilty to                                         Count II in Cause No. CR-18-149-BLG-DLC

 □     pleaded nolo contendere to count(s) which was
       accepted by the court
 □     was found guilty on count(s) after a plea of not
       Ruilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                        Offense Ended    Count

 Cause No. CR-18-8S-BLG-DLC

 18U.S.C. § 1343 -Wire Fraud                                                                                04/20/2018       1
 18U.S.C. § 1343 -Wire Fraud                                                                                04/20/2018       2
 18 U.S.C. § 1343 - Wire Fraud                                                                              04/20/2018       3
 18 U.S.C. §§ 1956(h), 1956(a)(1) - Conspiracy to Commit Money Laundering                                   04/20/2018       4


 Cause No. CR-18-149-BLG-DLC
 18 U.S.C. § 1001(a)(1)- Knowingly Making a False, Fictitious Statement in a Matter within
 the Jurisdiction of the Executive Branch of the Government of the United States                            04/20/2018       2


The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.


 ID    The defendant has been found not guilty on count(s)
       The Indictment in Cause No. CR-18-85-BLG-DLC is dismissed with prejudice on motion of the United States. Counts 1
       and 3 in Cause No. CR-18-149-BLG-DLC are dismissed with prejudice on motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.



                                                                       Octo        2. 2020
                                                                       Date of Imposition of Judgment




                                                                                      L
                                                                       Signature of Judge

                                                                       Dana L. Christensen, District Judge
                                                                       United States District Court
                                                                       Name and Title of Judge

                                                                       October 2. 2020
                                                                       Date
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DEFENDANT:                 LARRY WAYNE PRICE, JR.
CASE NUMBER:               CR 18-85-BLG-DLC-l


                                                      IMPRISONMENT



The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a total term of:

60 months on Counts 1,2, 3, and 4 in Docket No. CR-18-85-BLG-DLC, and 60 months on Count 2 in Docket No. CR-18-149-
BLG-DLC. All counts in CR-18-85-BLG-DLC and CR-18-149-BLG-DLC are to run concurrently.

       The court makes the following recommendations to the Bureau ofPrisons:
        (1) Defendant shall participate in the Bureau of Prisons’ 500-hour Residential Drug Treatment Program(RDAP)if eligible.
        (2) Defendant shall be placed at the Bureau ofPrisons’ facility at FCI McDowell in Welch, West Virginia, FCI Morgantown
        in Morgantown, West Virginia or another facility closest to Defendant’s family in Bluefield, Virginia.



 □     The defendant is remanded to the custody of the United States Marshal.
 □     The defendant shall surrender to the United States Marshal for this district:



          □     at                                  □       a.m.        □     p.m.     on


          □     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          □     before 2 p.m. on
                as notified by the United States Marshal,
          □     as notified by the Probation or Pretrial Services Office.



                                                               RETURN

I have executed this judgment as follows:


        Defendant delivered on                                     to




at                                      ., with a certified copy of this judgment.




                                                                        UNITED STATES MARSHAL



                                                                        By;
                                                                        DEPUTY UNITED STATES MARSHAL
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DEFENDANT:                LARRY WAYNE PRICE, JR.
CASE NUMBER:               CR18-85-BLG-DLC-1


                                               SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a total term of: three(3) years.

                                           MANDATORY CONDITIONS

 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            □    The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                 substance abuse, {check if applicable)
 4.        You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
           of restitution. The determination of restitution is deferred until 90 days from the date of sentencing. {See Doc. 89.)
           An Amended Judgment in a Criminal Case (A0245C) will be entered after such determination.
 5.        You must cooperate in the collection of DNA as directed by the probation officer, {check if applicable)
 6.   □    You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
           you reside, work, are a student, or were convicted of a qualifying offense, {check if applicable)
 7.   □    You must participate in an approved program for domestic violence, {check if applicable)

          You must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.
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DEFENDANT:                  LARRY WAYNE PRICE, JR.
CASE NUMBER:                CR 18-85-BLG-DLC-l


                                STANDARD CONDITIONS OF SUPERVISION


As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements(such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission ofthe
probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission ofthe court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.
13. You must follow the instructions ofthe probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a
written copy ofthis judgment containing these conditions. I understand additional information regarding these
conditions is available at https://www.mtp.uscourts.gov/post-conviction-supervision.


 Defendant’s Signature                                                                              Date
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DEFENDANT:                LARRY WAYNE PRICE, JR.
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                                SPECIAL CONDITIONS OF SUPERVISION
1.      All employment must be approved in advance in writing by the probation officer. You must consent to
        third-party disclosure to any employer or potential employer.

2.      You must provide the probation officer with any requested financial information. You must not incur new
        lines of credit without prior approval of the probation officer. You must notify the probation officer of
        any material changes in your economic circumstances that might affect your ability to pay court-ordered
        financial obligations.

3.      You must apply all monies received from income tax refunds, lottery winnings,judgments, and/or any
        other financial gains to outstanding court-ordered financial obligations.

4.      You must submit your person, residence, place of employment, vehicles, and papers, to a search, with or
        without a warrant by any probation officer based on reasonable suspicion of contraband or evidence in
        violation of a condition of release. Failure to submit to search may be grounds for revocation. You must
        warn any other occupants that the premises may be subject to searches pursuant to this condition. You
        must allow seizure of suspected contraband for further examination.

5.      You must participate in and successfully complete a program of substance abuse treatment as approved
        by the probation officer. You must remain in the program until you are released by the probation officer
        in consultation with the treatment provider. You must pay part or all of the costs of this treatment as
        directed by the probation officer.

6.      You must abstain from the consumption ofalcohol and are prohibited from entering establishments where
        alcohol is the primary item of sale.

7.      You must participate in substance abuse testing to include not more than 365 urinalysis tests, not more
        than 365 breathalyzer tests, and not more than 36 sweat patch applications annually during the period of
        supervision. You must pay part or all of the costs oftesting as directed by the probation officer.

8.      You must not possess, ingest or inhale any psychoactive substances that are not manufactured for human
        consumption for the purpose of altering your mental or physical state. Psychoactive substances include,
        but are not limited to, synthetic marijuana, kratom and/or synthetic stimulants such as bath salts and spice.

9.      You must not purchase, possess, use, distribute or administer marijuana, including marijuana that is used
        for recreational or medicinal purposes under state law.
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DEFENDANT:                   LARRY WAYNE PRICE, JR.
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                                        CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments.
                                   Assessment        JVTA Assessment**                    AVAA                Fine                   Restitution
                                                                                   Assessment*
 TOTALS                                 $500.00                      $ 0.00              $ 0.00                $.00      Deferred determination


                           The determination of restitution is deferred until 90 days from the date of senteneing. {See Doc. 89.)
            □              An Amended Judgment in a Criminal Case(A0245C) will be entered after such determination.
                           The defendant must make restitution (including community restitution) to the following payees in the
                           amount listed below.


         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
         § 3664(i), all nonfederal victims must be paid before the United States is paid.




 □     Restitution amount ordered pursuant to plea agreement $
 □     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
       the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
       subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
            the interest requirement is waived for the      □ fine                             1^ restitution
        Q     the interest requirement for the                   □     fine                            □     restitution is modified as follows:

*Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
  Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
    Findings for the total amount of losses are required under Chapters 109A, 110, 1 lOA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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DEFENDANT:                     LARRY WAYNE PRICE, JR.
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                                                  SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment ofthe total criminal monetary penalties is due as follows:

 A            Lump sum payments of$ 500 due immediately, balance due

         □    not later than                                    ,or


              in accordance with           □      C,          □       D,         □      E, or               F below; or

 B       □    Payment to begin immediately (may be combined with                 Q      C,           □      D, or              □       F below); or

 C       □    Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                                   (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date of this judgment;
              or



 D       □    Payment in equal 20 (e.g, weekly, monthly, quarterly) installments of $                               over a period of
                                (e.g, months or years), to commence                          (e.g., 30 or 60 days) after release from
              imprisonment to a term of supervision; or

 E       □    Payment during the term of supervised release will commence within                   (e.g, 30 or 60 days) after release
              from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
              time; or

 F
              Special instructions regarding the payment of criminal monetary penalties:
              Criminal monetary penalty payments are due during imprisonment at the rate of not less than S25.00 per
              quarter, and payment shall be through the Bureau of Prisons’ Inmate Financial Responsibility Program.
              Criminal monetary payments shall be made to the Clerk, United States District Court, James f. Battin U.S.
              Courthouse, 2601 2-' Ave North, Ste 1200, Billings, MT 59101.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 □       Joint and Several
         See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and
         Several Amount, and corresponding payee, if appropriate.

         D Defendant shall receive credit on his restitution obligation for recovery from other defendants who contributed to the same
         loss that gave rise to defendant's restitution obligation.
  □      The defendant shall pay the cost of prosecution.
  □      The defendant shall pay the following court cost(s):
  □      The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5) fine
principal, (6) fine interest, (7) community restitution, (8) JVTA Assessment, (9) penalties, and (10) costs, including cost of prosecution and court
costs.
